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                      UNITED STATES DISTRIT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                 :

              v.                         : Case No. 21-cr-0072(CRC)

GRACYN COURTRIGHT,                       :

       Defendant                         :


                   DEFENDANT’S SENTENCING MEMORANDUM


       Gracyn Courtright, by and through counsel, Thomas Abbenante,

respectfully submits this sentencing memorandum in connection with the her

pending case. For the reasons set forth herein, the defendant requests that this

Court sentence her to a period of 30 days incarceration: one year of supervised

release; 60 hours of community service; $500.00 restitution; and the mandatory

$25.00 special assessment. This is the sentence recommended by the probation

officer.

       The defendant pleaded guilty to one count of 18 U.S.C. Section 1752(a)(1),

Entering and Remaining in a Restricted Building or Grounds. The defendant has

no prior record. She entered a plea as soon as the government extended an offer

and she has complied with all of her conditions of release. She fully cooperated

with the probation officer. She was debriefed by the government following the

entry of her plea and admitted to her conduct as well as the conduct

she engaged in that was not charged. She did not personally engage in violence
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or property destruction. Her sentencing guidelines are 0-6 months.

       The facts concerning the defendant’s conduct stated in the

government’s memorandum are not disputed. The actions of the defendant as

outlined in the Statement of Offense have been fully admitted by her. The

postings on social media are not disputed. They are what they are. They are

troubling but they do not reflect the true nature of Ms. Courtright. What they truly

reflect is her lack of understanding of what occurred on that day. Her conduct on

January 6th, while admittedly unlawful, was neither aggressive nor malicious. She

was caught up in the hysteria of the day. When people started commenting about

her on social media, she responded without thinking about what she was saying.

Once the reality of the situation set in and she was back home with her family in

West Virginia, she was totally embarrassed by her actions and was full of

remorse. Her parents were furious with her. When she became aware that a

warrant was issued for her arrest, her father accompanied her and she turned

herself in.

       Ms. Courtright did not set out from her small hometown of Hurricane, West

Virginia to subvert democracy. She came to see former President Trump speak

at the rally which was supposed to be his last. She thought it would be an

historical event. She didn’t even vote in the election. The security officials at the

event ushered her into a 3rd row seat. She was excited to be that close to

President Trump. After his speech, she marched with others to the Capitol. She

never had any intention of participating in any violence or breaking any laws.

However, when she got there, she marched inside the Capitol and she is here
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before the court to answer for the crime she committed.

       As a result of her conduct, she was suspended from the University of

Kentucky. She has a hearing at the University scheduled for December 22, 2021

to determine whether she will be reinstated at some point and be allowed to

complete the final semester and obtain her degree. She has been working part

time during the holiday season.

       Her conviction and her involvement in this case will follow her the rest of

her life. Potential employers, potential friends, will be able to find all the details

online. It is a hefty price to pay for a first offense. She will be labeled as a

participant in the January 6th riot for the rest of her life. The government’s

request that Ms. Courtright be sentenced to the high end of the guideline range is

greater than necessary punishment.. The single case that the government cites

where the defendant pled to the same charge as Ms. Courtright, US v. Kevin

Cordon, 21-cr-277, resulted in a sentence of probation. Counsel recognizes that

the government may be annoyed that they did not uncover the evidence that Ms.

Courtright was on the floor of the Senate until after the plea was entered. Asking

for the high end of the guidelines in a misdemeanor case for a first offender who

did not engage in any violence, even in a January 6th case, should not be

adopted by the court.

       Wherefore the foregoing premises considered, and any others that may

become apparent at the sentencing hearing, defendant requests that the court

impose a sentence of 30 days plus the additional conditions recommended by

the probation department.
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                                    Respectfully submitted.



                                    ______________/s/___________
                                    Thomas Abbenante #227934
                                    888 17th Street NW Suite 1200
                                    Washington, DC 20006
                                    202-223-6539
                                    tabbenante@aol.com
